              Case 22-11068-JTD   Doc 1540   Filed 05/30/23   Page 1 of 6




                  IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF DELAWARE

IN RE FTX TRADING LTD., et al.,                 Chapter 11
                                                Case No. 22-11068 (JTD)
                      Debtors.                  (Jointly Administered)


ANDREW R. VARA, UNITED STATES
TRUSTEE,

                     Appellant,                 Civ. No. 23-241 (CFC)
         v.

FTX TRADING LTD., et al.,

                     Appellees.


Ramona D. Elliot, P. Matthew Sutko, Frederick Gaston Hall, Sumi K. Sakata,
Department of Justice, Executive Office for United States Trustees, Washington,
DC; Andrew R. Vara, Joseph J. McMahon, Jr., Benjamin A. Hackman, Juliet M.
Sarkessian, Department of Justice, Office of the United States Trustee,
Wilmington, DE.

      Counsel for Appellant

Adam G. Landis, Kimberly A. Brown, Matthew R. Pierce, Landis Rath & Cobb
LLP, Wilmington, DE; Andrew G. Dietderich, James L. Bromley, Brian D.
Glueckstein, Alexa J. Kranzley, Sullivan & Cromwell LLP, New York, NY.

      Counsel for Appellees


                          MEMORANDUM OPINION


May 30, 2023
Wilmington, Delaware
            Case 22-11068-JTD      Doc 1540    Filed 05/30/23   Page 2 of 6




                                                        CONN0LLY,EFJUDGE
       Appellant Andrew R. Vara, United States Trustee, has moved for an order

certifying a direct appeal to the court of appeals under 28 U.S.C. § 158(d)(2) of an

order issued by the Bankruptcy Court on February 21 , 2023. D.I. 14. The

Bankruptcy Court denied in that order the Trustee's request for the appointment of

an examiner under§ l 104(c) of the Bankruptcy Code, 11 U.S.C. § 1104(c).

       In the normal course, a party's appeal from a bankruptcy court's order is

heard by the district court. 28 U.S.C. § 158(a). Thus, in general, the party's appeal

is entertained by the court of appeals only if the district court affirms the bankruptcy

court's order and the party appeals the district court's decision. But under

§ 158(d)(2)(A), the court of appeals has the discretion to exercise jurisdiction over

an appeal taken directly from a bankruptcy court's order if the district court certifies

that

             (i)   the . .. order .. . involves a question of law as to
             which there is no controlling decision of the court of
             appeals for the circuit or of the Supreme Court of the
             United States, or involves a matter of public importance;

             (ii) the ... order .. . involves a question of law
             requiring resolution of conflicting decisions; or

             (iii) an immediate appeal from the ... order . .. may
             materially advance the progress of the case or proceeding
             in which the appeal is taken.
            Case 22-11068-JTD      Doc 1540     Filed 05/30/23   Page 3 of 6




28 U.S.C. § 158(d)(2)(A)(i)-{iii). And under § 158(d)(2)(B), the district court must

make this certification if, either "on its own motion or on the request of a party," the

court determines that any one of the circumstances specified in § 158(d)(2)(A)(i)-

(iii) exist. See § 158(d)(2)(B) ("If ... the district court ... on its own motion or on

the request of a party, determines that a circumstance specified in[§ 158(d)(2)(A)]

exists[,] ... the district court ... shall make the certification described in

subparagraph (A).") (emphasis added).

      In denying the Trustee's motion for an examiner, the Bankruptcy Court

rejected the Trustee's argument that§ 1104(c)(2) of the Bankruptcy Code, 11 U.S.C.

§ 1104(c), requires the appointment of an examiner if "the debtor's fixed, liquidated,

unsecured debts, other than debts for goods, services, or taxes, or owing to an

insider, exceed $5,000,000." D.I. 14-1; D.I. 14-2 at 5-17.

      Section 1104(c)(2) provides:

             If the court does not order the appointment of a trustee
             under this section, then at any time before the
             confirmation of a plan, on request of a party in interest or
             the United States trustee, and after notice and a hearing,
             the court shall order the appointment of an examiner to
             conduct such an investigation of the debtor as is
             appropriate, including an investigation of any allegations
             of fraud, dishonesty, incompetence, misconduct,
             mismanagement, or irregularity in the management of the
             affairs of the debtor of or by current or former
             management of the debtor, if--




                                            2
            Case 22-11068-JTD     Doc 1540     Filed 05/30/23   Page 4 of 6




             ( 1) such appointment is in the interests of creditors, any
             equity security holders, and other interests of the estate;
             or

             (2) the debtor's fixed, liquidated, unsecured debts, other
             than debts for goods, services, or taxes, or owing to an
             insider, exceed $5,000,000.

11 U.S.C. § 1104(c) (emphasis added).

      Neither the Supreme Court nor the Third Circuit has addressed whether

§ 1104(c)(2) requires the appointment of an examiner upon the request of the United

States Trustee if "the debtor's fixed, liquidated, unsecured debts, other than debts

for goods, services, or taxes, or owing to an insider, exceed $5,000,000." As the

Bankruptcy Court acknowledged, "there is a split of [noncontrolling] authority over

whether 1104(c)(2) leaves any discretion on the appointment of an examiner." D.I.

14-2 at 11: 10-11. The Bankruptcy Court determined, based on the "as is

appropriate" language in the statute, that § 1104(c) permits but does not require the

appointment of an examiner when the Trustee requests one and the $5 million debt

threshold is met. The Sixth Circuit, however, has held that § 1104(c) mandates the

appointment of an examiner in such circumstances. See In re Revco, 898 F .2d 498,

501 (6th Cir. 1990) ("[Section 1104(c)(2)] plainly means that the bankruptcy court

'shall' order the appointment of an examiner when the total fixed, liquidated,

unsecured debt exceeds $5 million, if the U.S. trustee requests one.").




                                           3
            Case 22-11068-JTD     Doc 1540     Filed 05/30/23   Page 5 of 6




      Whether§ 1104(c)(2) mandates the appointment of an examiner upon the

U.S. Trustee's request when the debtor's debts specified in the statute exceed $5

million is, of course, a question of law. And, because the Bankruptcy Court rejected

the Trustee's request for the appointment of an examiner based in part on its answer

to that question, the Court's February 21, 2023 order "involves a question of law as

to which there is no controlling decision of'' the Third Circuit or Supreme Court.

§ 158(d)(2)(A)(i). Certification of the Order for an appeal to the Third Circuit is

therefore required under§ 158(d)(2)(B).

      Appellees argue that "appeals raising mixed questions of law and fact are not

appropriate for direct certification." D.I. 28 at 12. But the question of whether

§ 1104(c)(2) requires the appointment of an examiner upon the Trustee's request if

the debtor's fixed, liquidated, unsecured debts, other than debts for goods, services,

or taxes, or owing to an insider, exceed $5,000,000, does not involve a question of

fact. The facts are not in dispute. No one contests that the Trustee requested an

examiner here or that the debtor's fixed, liquidated, unsecured debts, other than

debts for goods, services, or taxes, or owing to an insider, exceed $5 million. The

only issue is whether, given those facts, the Bankruptcy Court could lawfully reject

the Trustee's request for the appointment of an examiner under§ 1104(c).

      Accordingly, I have no choice but to grant the Trustee's motion.

§ 158(d)(2)(B).



                                           4
            Case 22-11068-JTD    Doc 1540     Filed 05/30/23   Page 6 of 6




      The Court will issue an Order consistent with this Memorandum Opinion.

Consideration of the merits of the appeal shall be stayed pending a decision from the

Third Circuit.




                                          5
